       Case 1:24-cr-00658-GHW         Document 22 Filed 01/27/25 Page 1 of 1
                                               U.S. Department of Justice
[Type text]
                                                  United States Attorney
                                                  Southern District of New York

                                                  Jacob K. Javits Federal Building
                                                  26 Federal Plaza
                                                  New York, New York 10278

                                                   January 27, 2025
BY ECF
Hon. Gregory H. Woods
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    United States v. S. Kenneth Leech II, 24 Cr. 658 (GHW)

Dear Judge Woods:

       The Government respectfully writes to update the Court on the status of the Government’s
discovery productions. On December 20, 2024, this Court so-ordered an agreed upon protective
order governing discovery. (ECF No. 17.) On December 23, 2024, the Government made its first
production from its document database (“Relativity Production-1”). Relativity Production-1
consisted of approximately 193,000 documents, produced in a load-file format. The Government
also made a production of materials that were not stored on the document review database, which
included full copies of search warrant returns. On January 27, 2025, the Government produced
another set of materials that were not stored on the Government’s document review database,
which included approximately 4.7 terabytes of market data. The Government’s document database
vendor is preparing the next production (“Relativity Production-2”), which consists of
approximately 258,000 documents. The vendor estimates it will complete preparing Relativity
Production-2 on January 31, 2025. Accounting for time to copy and transmit the files, the
Government expects to produce Relativity Production-2 to the defendant by February 7, 2025.

       Because the Government’s investigation is ongoing, the Government continues to receive
additional discoverable materials and will promptly make rolling discovery productions going
forward. The Government has conferred with defense counsel about its discovery productions and
will continue to do so before the next conference, which is scheduled for May 19, 2025. Thank
you very much.

                                           Respectfully submitted,

                                           DANIELLE R. SASSOON
                                           United States Attorney

                                        by: __/s/ ___________________
                                            Thomas Burnett/Peter Davis
                                            Assistant United States Attorneys
                                            (212) 637-2468/1064
cc: Counsel (by ECF)
